Case 1:21-cv-05350-PKC-RER Document 32 Filed 12/21/21 Page 1 of 7 PageID #: 2556




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

   SECURITIES AND EXCHANGE
   COMMISSION,
                                                               21 Civ. 5350 (PKC)
                               Plaintiff,

                 -against-

   RICHARD XIA, a/k/a YI XIA; and
   FLEET NEW YORK METROPOLITAN
   REGIONAL CENTER, LLC, f/k/a FEDERAL
   NEW YORK METROPOLITAN REGIONAL
   CENTER, LLC;

                               Defendants,

                 -and-

   JULIA YUE, a/k/a JIQING YUE,

                               Relief Defendant.



         MOTION FOR APPROVAL OF FIRST INTERIM FEE APPLICATION
       OF MONITOR, M. SCOTT PEELER FOR PAYMENT OF ARENT FOX LLP

        M. Scott Peeler, the duly appointed Monitor in this action (the “Monitor”), in accordance

 with Paragraph 31 of the Order Appointing Monitor signed on September 27, 2021 (the “Monitor

 Order”), hereby submits this Motion for Approval of First Interim Fee Application (“Application”)

 to compensate Arent Fox LLP for the time period of his being appointed, September 27, 2021

 through October 31, 2021. In support of this Application, the Monitor attaches his Certification

 (Exhibit A), and states as follows:

 I.     BACKGROUND

        1.      The SEC filed this enforcement action on September 27, 2021. The Complaint

 alleges, inter alia, that Defendants Richard Xia, a/k/a Yi Xia (“Xia”), Fleet New York

                                                   1
Case 1:21-cv-05350-PKC-RER Document 32 Filed 12/21/21 Page 2 of 7 PageID #: 2557




 Metropolitan Regional Center LLC, f/k/a Federal New York Metropolitan Regional Center, LLC

 (“Fleet”); and Relief Defendant Julia Yue, a/k/a JiQing Yue (“Yue”) committed securities fraud

 by making various material misrepresentations and omissions of material fact and engaged in

 various deceptive acts relating to the securities offerings described below and have

 misappropriated millions of dollars of investors’ monies.

        2.      On September 27, 2021, the Court issued an Order to Show Cause and Temporary

 Restraining Order (the “Restraining Order”) against the Defendants, granting certain specified

 relief to the SEC, including: (i) freezing the assets of Defendants Xia and Fleet and Relief

 Defendant Yue; (ii) appointing by separate Court Order (“Monitor Order”) a Monitor over Fleet,

 Xia and entities owned or controlled by Xia (“Xia Entities”); (iii) directing Defendants and the

 Relief Defendant to provide a sworn accounting of their assets.

        3.      Pursuant to Paragraph 28 of the Monitor Order, the terms and conditions of the

 Monitor’s retention, including all aspects of the Monitor’s compensation, were negotiated and

 agreed to between the Monitor, the SEC, and Fleet and the Xia Entities and are reflected in the

 Engagement Letter between Fleet, Xia, and the Monitor (the “Engagement Letter”).

        4.      Monitor Order Paragraph 30 of the provides that, subject to the prior approval of

 the Court, the Monitor is “entitled to reasonable compensation and expense reimbursement from

 the Subject Assets in accordance with the ‘Billing Instructions for Receiver in Civil Actions

 Commenced by the U.S. Securities and Exchange Commission’” (“Billing Instructions”).

 .
 II.    SUMMARY OF SERVICES PROVIDED FROM SEPTEMBER 27, 2021
        THROUGH OCTOBER 31, 2021

        5.      Since appointment on September 27, 2021, the Monitor has diligently performed

 his duties under the Monitor Order, including those under Paragraph 11(b) of the Monitor Order

 relating to determining the status of the Projects at issue in this action. These services, which are

                                                  2
Case 1:21-cv-05350-PKC-RER Document 32 Filed 12/21/21 Page 3 of 7 PageID #: 2558




 detailed in Arent Fox’s invoice (“Arent Fox Invoice”) (Exhibit B), include, but are not limited to,

 the following:

             a) Communicating with Fleet/Xia and Fleet/Xia’s counsel;

             b) Reviewing available construction project-related documents;

             c) Reviewing available financial accounting for the projects;

             d) Arranging project site visits to evaluate status of construction and to document

                   existing site conditions;

             e) Meetings with project representatives;

             f) Evaluating costs incurred and provide cost to complete based upon available

                   documents;

             g) Evaluating existing liens and claims based upon available documents; and

             h) Examining (for adequacy/customary levels) the project insurance maintained for

                   each project by the general contractor/construction manager based upon available

                   documents.

 III.   FACTORS TO BE CONSIDERED BY THE COURT IN AWARDING FEES

        6.         Because Paragraph 30 of the Monitor Order applies the “Billing Instructions for

 Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission” to the

 Monitor’s Fee Applications, authority in the Second Circuit relating to the award of receiver’s fees

 applies herein.

        7.         This Court has the power to award the Monitor fees for the Monitor's services and

 for expenses incurred in the performance of his or her duties. (See SEC v. Byers, 590 F. Supp. 2d

 637, 644 (S.D.N.Y. 2008) ("A receiver appointed by a court who reasonably and diligently

 discharges his duties is entitled to be fairly compensated for services rendered and expenses

 incurred." (citations omitted)). The case law on equity receiverships sets forth the standards for

                                                   3
Case 1:21-cv-05350-PKC-RER Document 32 Filed 12/21/21 Page 4 of 7 PageID #: 2559




 approving receiver compensation and the fees and expenses for the receiver's counsel. The District

 Court has discretion to determine compensation to be awarded to a court-appointed equity receiver

 and the receiver's counsel. Id.

        8.      In allowing counsel fees in Securities Act receiverships, the court considers several

 factors, including “the complexity of problems faced, the benefit to the receivership estate, the

 quality of work performed, and the time records presented." SEC v. Fifth Ave. Coach Lines, Inc.,

 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973); SEC v. Amerindo Inv. Advisors Inc., No. 05 Civ. 5231

 (RJS), 2015 WL 13678841, at *1 (S.D.N.Y. Sept. 14, 2015) (The Court may also consider “the

 reasonableness of the hourly rate charged and the reasonableness of the number of hours billed.”);

 SEC v. Morgan, 504 F. Supp. 3d 221, 223 (W.D.N.Y. 2020) (“In addition, in a securities

 receivership, opposition or acquiescence by the SEC to the fee application will be given great

 weight.”) (citation omitted); SEC v. Platinum Mgmt. (NY) LLC, No. 16-CV-6848 (BMC), 2018

 WL 4623012, at *4 (E.D.N.Y. Sept. 26, 2018) (“A court may also consider the degree of activity,

 integrity and dispatch with which the work is conducted and the result obtained.”) (internal

 quotation marks and citation omitted).

        9.      Applying these standards, and as detailed in paragraphs 8 and 9 above and in the

 narrative descriptions in the Arent Fox Invoice, the Monitor has demonstrated that the fees

 requested for payment at this time are appropriate. Based upon the complexity of the issues in this

 action, the quality and quantity of work performed, and the SEC’s approval of the fees requested

 in this Application, the Monitor respectfully submits that the amount requested to be paid at this

 time is fair and reasonable.




                                                  4
Case 1:21-cv-05350-PKC-RER Document 32 Filed 12/21/21 Page 5 of 7 PageID #: 2560




        10.     The following billing rates reflect a public service discount, demonstrated by

 reduced rates of the Monitor and all Partners, and have been accepted and deemed reasonable by

 Richard Xia, Fleet and the Xia Entities, and the SEC.

               Timekeeper                      Title                   Rate/Hour ($)

        Scott Peeler               Monitor                       990

        Mark Bloom                 Partner                       930

        Andrew Ross                Partner                       930

        Randall Brater             Partner                       890

        Stavros Karageorgiou       Associate                     785

        Victoria Wiener            Associate                     740

        Alexandra Coppola          Associate                     600

        Michelle Cascante          Paralegal                     465


        11.     As set forth in the Arent Fox Invoice, the fee total is $362,809.58 (“Fee Total”).

        12.     Pursuant to Paragraph 33 of the Monitor Order and the SEC’s consent, the Monitor

 is applying a holdback of 10% to the Fee Total or $36,280.95 (“Holdback Amount”), thereby

 adjusting the Fee Amount for which the Monitor seeks immediate payment to $326,528.63. This

 amount does not include the time expended for preparing this Application.

        13.     Paragraph 33 of the Monitor Order provides that “[t]he total amounts held back

 during the course of the Monitorship will be paid out at the discretion of the Court as part of the

 final fee application submitted at the close of the Monitorship.” The Monitor requests that all

 Holdback Amount(s) be placed in an escrow account held by Arent Fox LLP until the close of the

                                                  5
Case 1:21-cv-05350-PKC-RER Document 32 Filed 12/21/21 Page 6 of 7 PageID #: 2561




 Monitorship when the Court determines whether it will authorize the payment of the Holdback

 Amount(s) to the Monitor.

          14.      As required in Paragraph 31 of the Monitor Order, this Application was provided

 to counsel for the SEC at least five (5) days prior to this filing, and the SEC has indicated it finds

 the activities and expenses reasonable and agrees with the payment requested herein.

          15. The fees and expenses included therein were incurred in the best interests of the

 investors.

          16.      With the exception of the Engagement Letter and the Billing Instructions, the

 Monitor has not entered into any agreement, written or oral, express or implied, with any person

 or entity concerning the amount of compensation paid or to be paid to the Monitor or any sharing

 thereof. The Monitor represents as part of his continuing duty that there are no known conflicts of

 interest between the Monitor, and Fleet and the Xia Entities.

          17.      The Monitor continues to work in furtherance of his duties under the Monitor

 Order.

          WHEREFORE, the Monitor respectfully requests that the Court:

          1. Grant the Monitor’s Interim Fee Application of the Fee Total in the amount of
             $362,809.58 and authorize within seven (7) days of granting the Interim Fee
             Application:

                a) Payment to Arent Fox LLP in the amount of $326,528.63 for its services
                   performed during the period of September 27, 2021 through October 31, 2021;
                   and

                b) A 10% Hold Back Amount of $36,809.95 from the Fee Total be deposited into an
                   escrow account of Arent Fox LLP and held until the Court decides the Monitor’s
                   Final Fee Application at the close of the Monitorship;

          2. Direct that the HSBC bank account of The Grand Eastern Mirage Group LLC, ending
             in 0708, be unfrozen to the extent required to fund the Fee Total, including the Hold
             Back Amount.

          3. Grant such other relief as the Court deems appropriate.

                                                   6
Case 1:21-cv-05350-PKC-RER Document 32 Filed 12/21/21 Page 7 of 7 PageID #: 2562




  Dated: December 21, 2021                 Respectfully submitted,

                                           ARENT FOX LLP



                                           By: s/M. Scott Peeler
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                                              Court Appointed Monitor




                                       7
